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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE

             ----------------------------------------------------------x
                                                                       :
             In re                                                     :   Chapter 11
                                                                       :
             ALPHA ENTERTAINMENT LLC,                                  :   Case No. 20-10940 (LSS)
                                                                       :
                               Debtor.   1                             :
                                                                       :
             ----------------------------------------------------------x

                           NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED
                               FOR HEARING ON JUNE 16, 2020 AT 10:00 A.M. (ET)

                THIS HEARING WILL BE HELD TELEPHONICALLY AND BY VIDEO. ALL
                   PARTIES WISHING TO APPEAR MUST DO SO TELEPHONICALLY BY
             CONTACTING COURTCALL, LLC AT 866-582-6878 NO LATER THAN JUNE 16, 2020
             AT 8:30 A.M. (ET) TO SIGN UP. ADDITIONALLY, ANYONE WISHING TO APPEAR
             BY ZOOM IS INVITED TO USE THE LINK BELOW. ALL PARTIES THAT WILL BE
                ARGUING OR TESTIFYING MUST APPEAR BY ZOOM AND COURTCALL.
              PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING WILL BE
                    MUTED AND THE ONLY AUDIO WILL BE THROUGH COURTCALL.

                                                        Join ZoomGov Meeting
                 https://protect-us.mimecast.com/s/gZPtCjRnjQhYVX6wIW8SPl?domain=debuscourts.zoomgov.com


                                                       Meeting ID: 160 329 7883
                                                          Password: 625912

                                                                Join by SIP
                                                      1603297883@sip.zoomgov.com


             ADJOURNED/RESOLVED MATTERS

                 1.    Debtor’s Motion for Entry of an Order Extending the Deadline to File Schedules of
                       Assets and Liabilities and Statements of Financial Affairs [D.I. 90; 5/8/20]

                       Related Pleadings:

                               a)       Certificate of No Objection [D.I. 180; 5/28/20]

             1
               The last four digits of the Debtor’s federal tax identification number, is 7778. The Debtor’s mailing address is
             1266 East Main St., Stamford, CT 06902.
             2
                 Amended items appear in bold.

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                            b)   Order Extending the Deadline to File Schedules of Assets and Liabilities
                                 and Statements of Financial Affairs [D.I. 192; 6/1/20]

                  Objection Deadline:           May 22, 2020 at 4:00 p.m. (ET)

                  Objections/Informal Responses:       None.

                  Status:        An order has been entered by the Court. No hearing is necessary.

             2.   Application Pursuant to 11 U.S.C. §§ 328 and 1103, Fed. R. Bankr. P. 2014(a), and Local
                  Rule 2014-1, Authorizing the Employment and Retention of Dundon Advisers LLC as
                  Financial Advisor to the Official Committee of Unsecured Creditors Nunc Pro Tunc to
                  May 7, 2020 [D.I. 129; 5/12/20]

                  Related Pleadings:

                            a)   Certification of Counsel [D.I. 206; 6/5/20]

                            b)   Order Authorizing the Employment and Retention of Dundon Advisers
                                 LLC as Financial Advisor to the Official Committee of Unsecured
                                 Creditors Nunc Pro Tunc to May 7, 2020 [D.I. 215; 6/11/20]

                  Objection Deadline:           May 26, 2020 at 4:00 p.m. (ET)

                  Objections/Informal Responses:

                            c)   Informal Response from the Office of the United States Trustee

                  Status:        An order has been entered by the Court. No hearing is necessary.

             3.   Debtor’s Motion for an Order Authorizing the Debtor to Retain and Compensate Certain
                  Professionals Utilized in the Ordinary Course of Business, Effective as of the Petition
                  Date [D.I. 142; 5/18/20]

                  Related Pleadings:

                            a)   Certificate of No Objection [D.I. 197; 6/2/20]

                            b)   Order Authorizing the Debtor to Retain and Compensate Certain
                                 Professionals Utilized in the Ordinary Course of Business, Effective as of
                                 the Petition Date [D.I. 200; 6/3/20]

                  Objection Deadline:           June 1, 2020 at 4:00 p.m. (ET)

                  Objections/Informal Responses:       None.

                  Status:        An order has been entered by the Court. No hearing is necessary.

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             UNCONTESTED MATTERS WITH CERTIFICATIONS OF COUNSEL

             4.   Motion for Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 362, 363, 364 and
                  507, (A) Authorizing Post-Petition Financing, (B) Authorizing Use of Cash Collateral,
                  (C) Scheduling a Final Hearing, and (D) Granting Related Relief [D.I. 7; 4/13/20]

                  Related Pleadings:

                            a)   Interim Order Authorizing Use of Cash Collateral, Scheduling a Final
                                 Hearing, and Granting Related Relief [D.I. 51; 4/21/20]

                            b)   Second Interim Order Authorizing Use of Cash Collateral, Scheduling a
                                 Final Hearing, and Granting Related Relief [D.I. 191; 6/1/20]

                            c)   Notice of (I) Entry of Second Interim Cash Collateral Order and (II) Filing
                                 of Proposed Final Cash Collateral Order and Hearing Thereon [D.I. 196;
                                 6/2/20]

                            d)   Certification of Counsel Regarding Proposed Third Interim Order
                                 Authorizing Use of Cash Collateral, Scheduling a Final Hearing, and
                                 Granting Related Relief [D.I. 214; 6/11/20]

                            e)   Third Interim Order Authorizing Use of Cash Collateral, Scheduling
                                 a Final Hearing, and Granting Related Relief [D.I. 221; 6/12/20]

                  Objection Deadline:           June 9, 2020 at 4:00 p.m. (ET)

                  Objections/Informal Responses:

                            f)   Informal Response from the Official Committee of Unsecured Creditors

                  Status:        An order has been entered by the Court. No hearing is necessary.

             5.   Debtor’s Ninth Omnibus Motion for Entry of an Order Authorizing the Debtor to Reject
                  Certain Executory Contracts Effective as of the Petition Date [D.I. 20; 4/13/20]

                  Related Pleadings:

                            a)   Omnibus Notice of Hearing [D.I. 40; 4/16/20]

                            b)   Notice of Partial Withdrawal [D.I. 93; 5/11/20]

                            c)   Certification of Counsel [D.I. 219; 6/12/20]

                            d)   Order Authorizing the Debtor to Reject Certain Executory Contracts
                                 Effective as of the Petition Date [D.I. 222; 6/12/20]


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                  Objection Deadline:           April 27, 2020 at 4:00 p.m. (ET) [Extended for Mark and
                                                Matthew Kwok, Ming Event Services to May 6, 2020 at
                                                4:00 p.m. (ET), and for the Committee to May 21, 2020 at
                                                1:00 p.m. (ET)]

                  Objections/Informal Responses:

                            e)   Response and Objection of YinzCam, Inc. [D.I. 70; 4/27/20]

                            f)   Informal Response from the Committee

                            g)   Informal Response from Mark and Matthew Kwok, Ming Event Services

                  Status:        With respect to the response listed as item (e), this matter is adjourned to
                                 the next omnibus hearing on July 13, 2020 at 10:00 a.m. (ET). An order
                                 has been entered by the Court. No hearing is necessary.

             6.   Debtor’s Tenth Omnibus Motion for Entry of an Order Authorizing the Debtor to Reject
                  Certain Executory Contracts Effective as of the Petition Date [D.I. 21; 4/13/20]

                  Related Pleadings:

                            a)   Omnibus Notice of Hearing [D.I. 40; 4/16/20]

                            b)   Certificate of No Objection [D.I. 217; 6/12/20]

                            c)   Order Authorizing the Debtor to Reject Certain Executory Contracts
                                 Effective as of the Petition Date [D.I. 223; 6/12/20]

                  Objection Deadline:           April 27, 2020 at 4:00 p.m. (ET) [Extended for the
                                                Committee to May 21, 2020 at 1:00 p.m. (ET)]

                  Objections/Informal Responses:

                            d)   Informal Response from the Committee

                  Status:        An order has been entered by the Court. No hearing is necessary.

             7.   Debtor’s Twelfth Omnibus Motion for Entry of an Order Authorizing the Debtor to
                  Reject Certain Unexpired Leases and Executory Contracts Effective as of the Petition
                  Date [D.I. 23; 4/13/20]

                  Related Pleadings:

                            a)   Omnibus Notice of Hearing [D.I. 40; 4/16/20]

                            b)   Certification of Counsel [D.I. 218; 6/12/20]


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                            c)   Order Authorizing the Debtor to Reject Certain Unexpired Leases
                                 and Executory Contracts Effective as of the Petition Date [D.I. 224;
                                 6/12/20]

                  Objection Deadline:           April 27, 2020 at 4:00 p.m. (ET) [Extended for Rangers
                                                Baseball LLC to May 6, 2020 at 4:00 p.m. (ET), for New
                                                Meadowlands Stadium Company, LLC to May 11, 2020 at
                                                11:00 a.m. (ET), and for the Committee to May 21, 2020 at
                                                1:00 p.m. (ET)]

                  Objections/Informal Responses:

                            d)   Informal Response from Rangers Baseball LLC

                            e)   Informal Response from New Meadowlands Stadium Company, LLC

                            f)   Informal Response from the Committee

                  Status:        An order has been entered by the Court. No hearing is necessary.

             8.   Application of the Official Committee of Unsecured Creditors of Alpha Entertainment
                  LLC for Entry of an Order Authorizing the Employment and Retention of Greenberg
                  Traurig, LLP as Counsel Effective as of April 28, 2020 [D.I. 128; 5/12/20]

                  Related Pleadings:

                            a)   Certification of Counsel [D.I. 205; 6/5/20]

                            b)   Proposed Order

                  Objection Deadline:           May 26, 2020 at 4:00 p.m. (ET)

                  Objections/Informal Responses:

                            c)   Informal Response from the Office of the United States Trustee

                  Status:        At the direction of the Court, this matter is going forward.

             9.   Debtor’s Fourteenth Motion for Entry of an Order Authorizing the Debtor to Reject
                  Certain Unexpired Leases and Executory Contracts, Effective as of the Applicable
                  Rejection Effective Date [D.I. 186; 5/29/20]

                  Related Pleadings:

                            a)   Certificate of No Objection [D.I. 216; 6/12/20]

                            b)   Order Authorizing the Debtor to Reject Certain Unexpired Leases
                                 and Executory Contracts, Effective as of the Applicable Rejection
                                 Effective Date [D.I. 225; 6/12/20]
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                   Objection Deadline:          June 9, 2020 at 4:00 p.m. (ET)

                   Objections/Informal Responses:

                             c)   Informal Response from McKinney CBD Houston, LLC

                             d)   Informal Response from Maple Plaza, L.P.

                   Status:        An order has been entered by the Court. No hearing is necessary.

             MATTER GOING FORWARD

             10.   Application of the Debtor for Entry of an Order Authorizing Retention and Employment
                   of Houlihan Lokey Capital, Inc. as Financial Advisor and Investment Banker to the
                   Debtor Effective as of May 8, 2020 [D.I. 134; 5/13/20]

                   Related Pleadings:           None to date.

                   Objection Deadline:          May 27, 2020 at 4:00 p.m. (ET) [Extended for the Office of
                                                the United States Trustee to June 12, 2020 at 10:00 a.m.
                                                (ET)]

                   Objections/Informal Responses:

                             a)   Informal Response from the Office of the United States Trustee

                   Status:        The Debtor is working with the Office of the United States Trustee to
                                  resolve its response, and has reached an agreement in principal. The
                                  Debtor intends to submit supplemental declaration of Houlihan Lokey and
                                  a revised order prior to the hearing. This matter is going forward.


                                              [Signature Page Follows]




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             Dated:   June 15, 2020           YOUNG CONAWAY STARGATT & TAYLOR, LLP
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